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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        WICHITA FALLS DIVISION

                                       )
FRANCISCAN ALLIANCE, INC., et al.,     )
                                       )
                  Plaintiffs,          )
                                       )    Case No. 7:16-cv-00108-O
      v.                               )
                                       )
XAVIER BECERRA, Secretary of Health    )
and Human Services, et al.,            )
                                       )
                  Defendants.          )
                                       )

             DEFENDANTS’ SUPPLEMENTAL BRIEF ON REMAND
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                                        INTRODUCTION

       Defendants respectfully ask that the Court once again deny Plaintiffs’ request for an

injunction in this matter. Plaintiffs brought suit to challenge regulations promulgated by the

Department of Health and Human Services (HHS) in 2016 that this Court has since vacated in

relevant part and that HHS has since formally rescinded and replaced. As the Court concluded

when granting Plaintiffs’ motion for summary judgment, issuance of an injunction would not

have a meaningful practical effect independent of vacatur, and “neither Plaintiffs nor similarly

situated non-parties need injunctive relief from the vacated Rule,” which is no longer extant.

Mem. Op. & Order at 25, ECF No. 175 (“Summ. J. Order”) (emphasis added).

       Plaintiffs work hard to try to convince the Court otherwise on remand, but Plaintiffs are

not entitled to further relief. Their claims are either moot—because the relevant portions of the

2016 Rule have been vacated and repealed—or unripe—because they are based on pure

speculation regarding potential future rulemakings or enforcement actions. Accordingly,

Plaintiffs can no longer meet the bare requirements to satisfy Article III, much less to establish

an imminent and irreparable harm that could justify an injunction. Defendants respectfully ask

that the Court deny Plaintiffs’ request for further relief and that the Court direct the Clerk to

close the case.

                                         BACKGROUND

       This case arises from HHS’s efforts to implement Section 1557 of the Affordable Care

Act. Section 1557 applies long-standing anti-discrimination principles to health programs or

activities by incorporating four federal anti-discrimination laws into the ACA: Title VI, Title IX,

the Age Discrimination Act of 1975, and Section 504 of the Rehabilitation Act. Specifically,

Section 1557 directs that



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       [e]xcept as otherwise provided for in this title (or an amendment made by this
       title), an individual shall not, on the ground prohibited under title VI of the Civil
       Rights Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education
       Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age Discrimination Act of
       1975 (42 U.S.C. 6101 et seq.), or section [504 of the Rehabilitation Act of 1973
       (29 U.S.C. 794)], be excluded from participation in, be denied the benefits of, or
       be subjected to discrimination under, any health program or activity, any part of
       which is receiving Federal financial assistance, including credits, subsidies, or
       contracts of insurance, or under any program or activity that is administered by an
       Executive Agency or any entity established under [Title I of the ACA] (or
       amendments). The enforcement mechanisms provided for and available under
       such title VI, title IX, section [504], or such Age Discrimination Act shall apply
       for purposes of violations of this subsection.

42 U.S.C. § 18116(a).

       As relevant here, Title IX in turn provides that “[n]o person . . . shall, on the basis of sex,

be excluded from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance.” 20 U.S.C.

§ 1681(a). Title IX further provides that the prohibition on sex discrimination does not apply to

religious organizations where applying the prohibition would conflict with the religious tenets of

such organizations, id. § 1681(a)(3), and that nothing in it “shall be construed to require or

prohibit any person, or public or private entity, to provide or pay for any benefit or service,

including the use of facilities, related to an abortion,” 20 U.S.C. § 1688.

       A.      HHS’s 2016 Rule

       Acting under its statutory authority to “promulgate regulations to implement” Section

1557, 42 U.S.C. § 18116(c), HHS issued the challenged rule in May 2016. See

Nondiscrimination in Health Programs and Activities, 81 Fed. Reg. 31,375 (May 18, 2016) (the

“2016 Rule”). As relevant here, the 2016 Rule prohibited discrimination on the basis of sex, and

explicitly defined “[o]n the basis of sex” to include “discrimination on the basis of pregnancy,

false pregnancy, termination of pregnancy, or recovery therefrom, childbirth or related medical



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conditions, sex stereotyping, and gender identity.” Id. at 31,467. The 2016 Rule further defined

“gender identity” to include “an individual’s internal sense of gender, which may be male,

female, neither, or a combination of male and female . . . .” Id. The 2016 Rule listed several

specific examples of prohibited discrimination. See, e.g., id. at 31,471. HHS had decided, for

example, that covered entities could violate Section 1557 if they “deny or limit coverage of a

claim, or impose additional cost sharing or other limitations or restrictions on coverage, for

specific health services related to gender transition if such denial, limitation, or restriction results

in discrimination against a transgender individual.” Id. Although Title IX contains a religious

exemption, the 2016 Rule did not incorporate that exemption into its implementation of Section

1557. Id. at 31,380; see 20 U.S.C. §§ 1681(a)(3), 1687.

        B.      Plaintiffs’ Challenge to the 2016 Rule

        Plaintiffs are a hospital system, medical provider, and membership organization. Am.

Compl. ¶¶ 5–7. Along with several States that are no longer part of these proceedings, Plaintiffs

collectively brought numerous challenges to certain provisions of the 2016 Rule, including

challenges under the Administrative Procedure Act (APA) and the Religious Freedom

Restoration Act (RFRA). Plaintiffs’ APA claims alleged that the 2016 Rule exceeded HHS’s

statutory authority by defining discrimination “on the basis of sex” to include discrimination on

the basis of termination of pregnancy or gender identity, as well as by failing to incorporate Title

IX’s religious exemption. See, e.g., id. ¶¶ 117–23. In their RFRA claims, Plaintiffs alleged that

the 2016 Rule’s definition of sex discrimination as including gender-identity discrimination

substantially burdened their religious exercise without a compelling governmental interest. See

id. ¶¶ 282–311.




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       Soon after filing their complaint, Plaintiffs moved for a preliminary injunction barring

enforcement of the 2016 Rule, and the American Civil Liberties Union (ACLU) of Texas and

River City Gender Alliance moved to intervene in defense of the 2016 Rule. See ECF Nos. 7,

24. This Court granted Plaintiffs a preliminary injunction in December 2016, concluding that the

challenged provisions of the 2016 Rule likely violated the APA and RFRA. Order, ECF No. 62.

The preliminary injunction barred HHS “from enforcing the [2016] Rule’s prohibition against

discrimination on the basis of gender identity or termination of pregnancy.” Id at 46. HHS

thereafter began reconsidering the 2016 Rule, and the Court granted HHS’s request to stay

proceedings. See Order, ECF No. 105.

       In December 2018, the parties asked the Court to lift the stay, and Plaintiffs then moved

for summary judgment. ECF Nos 125, 136. In their motion, Plaintiffs asked the Court to “make

its preliminary injunction permanent.” Private Plaintiffs’ Brief In Support of Their Renewed

Mot. for Partial Summ. J., ECF No. 136. The government did not oppose Plaintiffs’ RFRA

claim, but noted that because Plaintiffs were “entitled to summary judgment on their APA claim,

. . . there [was] no need . . . to resolve any other claim to provide them with the relief they seek.”

Defs.’ Mem. in Response to Pls.’ Mots. For Summ. J. at 1, ECF No. 154. Nonetheless, the

government “ask[ed] the [c]ourt to postpone ruling on Plaintiffs’ summary judgment motions to

allow Defendants to complete their ongoing efforts to amend the Rule[,] . . . which, if finalized,

may moot this case.” Id. at 2. After briefing was complete, HHS issued a notice of proposed

rulemaking to rescind the challenged provisions and notified the Court. See Notice Regarding

Issuance of Notice of Proposed Rulemaking to Amend Challenged Regulations;

Nondiscrimination in Health and Health Education Programs or Activities, 84 Fed. Reg. 27,846

(June 14, 2019).



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       The Court granted summary judgment in Plaintiffs’ favor, holding that the challenged

portion of the 2016 Rule was contrary to Section 1557 and substantially burdened Plaintiffs’

religious exercise in violation of RFRA. Summ. J. Order at 17–21. The Court also granted

Intervenors’ motion to intervene. Id. at 13.

       As to relief, the Court vacated “the unlawful portions of the Rule for Defendants’ further

consideration in light of this opinion and the” prior preliminary injunction order. Id. at 23; see

also Order at 2, ECF No. 182 (vacating “the portions of the [2016] Rule that Plaintiffs

challenged,” “[s]pecifically,” the portions of the rule defining “‘On the basis of sex’ to include

gender identity and termination of pregnancy”). But the Court determined that the

“circumstances d[id] not justify” a nationwide injunction because “vacatur redresses both the

APA violation and the RFRA violation.” Summ. J. Order at 23. Citing several cases, including

the Supreme Court’s decision in Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010),

the Court concluded that the best course was to “vacat[e] the Rule and invit[e] Plaintiffs to return

if further relief independent of vacatur[] is later warranted.” Summ. J. Order at 24–25.

       The Court noted several reasons why an injunction was unnecessary to protect Plaintiffs

from any harm. The Court explained that there was “no indication that, once the Rule is vacated,

Defendants [would] defy the Court’s order and attempt to apply the Rule against Plaintiffs.” Id.

at 24. Indeed, “Defendants . . . agree[d] with Plaintiffs and the Court that the Rule[] . . . [was]

substantively unlawful under the APA” and had “been conscientiously complying with the

[preliminary] injunction.” Id. at 24–25 (quotation marks omitted). “Considering Defendants’

prior actions and current statements, the Court conclude[d] that issuance of an injunction would

not have a ‘meaningful practical effect independent of its vacatur’ because vacatur and remand

will likely prevent Defendants from applying the Rule.” Id. at 25 (quoting Monsanto, 561 U.S.



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at 165). Thus, the Court determined that “neither Plaintiffs nor similarly situated non-parties

need injunctive relief from the vacated Rule.” Id. Instead, the Court explained that “Plaintiffs

may return to the [c]ourt for redress” if Plaintiffs in the future encountered risk of imminent

harm. Id.1 Plaintiffs appealed the denial of injunctive relief to the Fifth Circuit.

       C.       The 2020 Rule and Surrounding Litigation

       On June 12, 2020, while Plaintiffs’ appeal was pending, HHS submitted for publication a

new final rule (the 2020 Rule) rescinding the various provisions of the 2016 Rule that Plaintiffs

had challenged. See Nondiscrimination in Health and Health Education Programs or Activities,

Delegation of Authority, 85 Fed. Reg. 37,160 (June 19, 2020). The 2020 Rule rescinded the

2016 Rule’s definition of discrimination “on the basis of sex” and replaced it with a provision

largely quoting Section 1557’s statutory text. Id. at 37,244 (codified at 45 C.F.R. § 92.2).2 The

2020 Rule also incorporated Title IX’s religious exemption, as Plaintiffs in this case had argued




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           The Court later granted the government’s motion to modify the final judgment “to
confirm that . . . the [c]ourt vacate[d] only the portions of the Rule that Plaintiffs challenged in
this litigation.” Order, ECF No. 182. The court modified its judgment to clarify that it vacated
the 2016 Rule “insofar as the Rule defines ‘On the basis of sex’ to include gender identity and
termination of pregnancy.” Id.
       2
           The new provision reads as follows:
       (a) Except as provided in Title I of the Patient Protection and Affordable Care Act (or
           any amendment thereto), an individual shall not, on any of the grounds set forth in
           paragraph (b) of this section, be excluded from participation in, be denied the benefits
           of, or be subjected to discrimination under any health program or activity, any part of
           which is receiving Federal financial assistance (including credits, subsidies, or
           contracts of insurance) provided by the U.S. Department of Health and Human
           Services; or under any program or activity administered by the Department under
           such Title; or under any program or activity administered by any entity established
           under such Title.
       (b) The grounds are the grounds prohibited under the following statutes: . . . Title IX of
           the Education Amendments of 1972 (20 U.S.C. 1681 et seq.) (sex); . . . .
45 C.F.R. § 92.2.

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was required. See id. at 37,245 (codified at 45 C.F.R. § 92.6(b)) (“Insofar as the application of

any requirement under this part would violate, depart from, or contradict definitions, exemptions,

affirmative rights, or protections provided by any of the statutes cited in paragraph (a) of this

section [including Title IX] … , such application shall not be imposed or required.”). It also

rescinded a section included in the 2016 Rule that prohibited specified actions as discriminatory,

including to “[d]eny or limit coverage of a claim, or impose additional cost sharing or other

limitations or restrictions on coverage, for specific health services related to gender transition if

such denial, limitation, or restriction results in discrimination against a transgender individual,”

and to “[h]ave or implement a categorical coverage exclusion or limitation for all health services

related to gender transition.” 81 Fed. Reg. at 31,472; 85 Fed. Reg. at 37,196.

       On June 15, three days after HHS submitted the 2020 Rule for publication, the Supreme

Court decided Bostock v. Clayton County, 140 S. Ct. 1731 (2020). Bostock concerned the proper

interpretation of the anti-discrimination provision in Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e-2(a)(1). Id. at 1737. The Court held that “discrimination based on homosexuality

or transgender status necessarily entails discrimination based on sex; the first cannot happen

without the second.” Id. at 1747. However, the Court specifically reserved the question of how

RFRA and other “doctrines protecting religious liberty interact with Title VII,” explaining that

these “are questions for future cases.” Id. at 1754. The Court noted that “RFRA operates as a

kind of super statute, displacing the normal operation of other federal laws” and that “it might

supersede Title VII’s commands in appropriate cases.” Id.

       Following Bostock, groups of plaintiffs in several district courts challenged the 2020 Rule

as substantively and procedurally unlawful under the APA. See, e.g., Washington v. U.S. Dep’t

of Health & Human Servs., No. 20-cv-1105 (W.D. Wash. filed July 16, 2020); Whitman-Walker



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Clinic, Inc. v. U.S. Dep’t of Health & Human Servs., No. 20-cv-1630 (D.D.C. filed June 22,

2020); Asapansa-Johnson Walker v. Azar, No. 20-cv-2834 (E.D.N.Y. filed June 26, 2020). Two

district courts issued preliminary injunctions barring HHS from enforcing its repeal of the 2016

regulatory definition of discrimination on the basis of sex and associated provisions in the 2016

Rule, and one court enjoined HHS from enforcing the 2020 Rule’s incorporation of Title IX’s

religious exemption. See Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Human Servs.,

485 F. Supp. 3d 1 (D.D.C. 2020) (enjoining rescission of 2016 regulatory definition and

enforcement of Title IX’s religious exemption); Asapansa-Johnson Walker v. Azar, 480 F. Supp.

3d 417 (E.D.N.Y. 2020) (enjoining rescission of the 2016 regulatory definition); Order, Walker,

2020 WL 6363970 (E.D.N.Y. Oct. 29, 2020) (enjoining rescission of related provision). Both

district courts acknowledged that their orders did not affect the vacatur issued by the Court in

this case. See Whitman-Walker Clinic, 485 F. Supp. 3d at 26–27; Asapansa-Johnson Walker,

480 F. Supp. 3d at 427. HHS appealed the preliminary injunctions in Whitman-Walker Clinic

and Asapansa-Johnson Walker to the Second and D.C. Circuits respectively. See Asapansa-

Johnson Walker v. Azar, No. 20-3580 (2d Cir. filed Oct. 16, 2020); Whitman-Walker Clinic v.

U.S. Dep’t of Health & Human Servs., No. 20-5331 (D.C. Cir. filed Nov. 9, 2020). However,

upon the parties’ request, the cases on appeal challenging the 2020 Rule have been held in

abeyance pending further consideration of regulations governing Section 1557 by new leadership

at HHS. See Order, Asapansa-Johnson Walker v. Azar, No. 20-3580 (2d Cir. May 18, 2021);

Clerk’s Order, Whitman-Walker Clinic v. U.S. Dep’t of Health & Human Servs., No. 20-5331

(D.C. Cir. May 14, 2021).




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       D.       Fifth Circuit Proceedings and Subsequent Developments

       The Fifth Circuit issued its decision in Plaintiffs’ appeal of this Court’s final judgment on

April 15, 2021. Franciscan Alliance, Inc. v. Becerra, 843 F. App’x 662 (5th Cir. 2021). The

court noted that “the legal landscape has shifted significantly” since Plaintiffs appealed the

denial of injunctive relief, and that those “developments keep us from reaching the merits of” the

appeal. Id. at 663. Noting that it is “unclear” whether “the providers are pressing the same claim

before us as they did in the district court,” the Fifth Circuit remanded for consideration of

whether this Court “should have granted them injunctive relief against the 2016 rule and the

underlying statute,” or, alternatively, for consideration of the government’s contention “that the

case is moot and that the providers never asked the district court for relief against the underlying

statute.” Id.

       On May 10, 2021, HHS issued a notification to inform the public that, consistent with the

Supreme Court’s decision in Bostock and Title IX, beginning on May 10, HHS will interpret and

enforce Section 1557’s prohibition on discrimination on the basis of sex to include:

(1) discrimination on the basis of sexual orientation; and (2) discrimination on the basis of

gender identity. See HHS, Notification of Interpretation and Enforcement of Section 1557 of the

Affordable Care Act and Title IX of the Education Amendments of 1972, 86 Fed. Reg. 27,984,

27,984 (May 10, 2021). HHS explained that its “interpretation will guide HHS’s Office for Civil

Rights in processing complaints and conducting investigations, but does not itself determine the

outcome in any particular case or set of facts.” Id. HHS further explained in the notification

that, “[i]n enforcing Section 1557, . . . OCR will comply with [RFRA] and all other legal

requirements,” as well as with “all applicable court orders that have been issued in litigation

involving the Section 1557 regulations.” Id. at 27,985. The notification also explains that OCR



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applies the enforcement mechanisms for and available under Title IX when enforcing Section

1557’s prohibition on sex discrimination, which incorporate the provisions applicable to Title VI

at 45 C.F.R. § 80.6 through 80.11 and 45 C.F.R. Part 81. See 86 Fed. Reg. at 27,985; see also 45

C.F.R. § 80.7 (explaining that if an investigation “indicates a failure to comply,” “the matter will

be resolved by informal means whenever possible”); 45 C.F.R. § 80.8 (explaining that “if the

noncompliance . . . cannot be corrected by informal means, compliance . . . may be effected by

the suspension or termination of or refusal to grant or to continue Federal financial assistance” or

by “a reference to the Department of Justice with a recommendation” for enforcement

proceedings).

       HHS has not has taken a position on what the prohibition of discrimination on the basis

of gender identity means in the context of gender-transition services for religious entities, which

would necessarily depend on specific facts not before the agency. Nor has HHS threatened or

initiated any enforcement activity against religious-entity plaintiffs—or any religious entities

who object to providing gender-transition and abortion procedures—in which the protections of

RFRA or other religious exemptions could be asserted and evaluated.

                                           ARGUMENT

I.     PLAINTIFFS ARE NOT ENTITLED TO ANY FURTHER RELIEF.

       “‘No principle is more fundamental to the judiciary’s proper role in our system of

government than the constitutional limitation of federal-court jurisdiction.’” Raines v. Byrd, 521

U.S. 811, 818 (1997) (quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 37 (1976)).

“Article III of the Constitution limits the judicial power of the United States to the resolution of

‘Cases’ and ‘Controversies,’” Hein v. Freedom from Religion Found., 551 U.S. 587, 597 (2007);

however, “it does not attempt to define those terms,” Lujan v. Defs. of Wildlife, 504 U.S. 555,

559 (1992). In order to effectuate the Constitution’s mandate, the Supreme Court has developed
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the doctrines of standing and the similar constitutional prerequisites to the exercise of

jurisdiction—mootness and ripeness. Choice Inc. of Texas v. Greenstein, 691 F.3d 710, 714–15

(5th Cir. 2012). These doctrines often overlap in practice because they “all originate in Article

III’s ‘case’ or ‘controversy language.’” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352

(2006).

          As discussed below, Plaintiffs are not entitled to any further relief due to these Article III

limitations. Plaintiffs’ claims are either moot—because HHS has repealed the challenged

portions of the 2016 Rule—or unripe to the degree any alleged injury is based on any possible

future regulatory or enforcement action. Plaintiffs do not suffer any legally cognizable injury

that could give rise to a further exercise of judicial power, and, a fortiori, they cannot establish

the sort of imminent injury necessary to justify injunctive relief.

          A.     Plaintiffs’ Claims In This Case Are Moot.

          Consistent with the principles that parties must continue to have a personal stake in the

outcome of a lawsuit to satisfy Article III’s requirements, challenges to agency regulations often

become moot when the agency rescinds the challenged regulations or a court vacates them. See,

e.g., Louisiana Envtl. Action Network v. U.S. EPA, 382 F.3d 575, 581 (5th Cir. 2004) (holding

that request for relief from EPA rules was moot after “vacatur of the agency’s final rules”);

Sannon v. United States, 631 F.2d 1247, 1250–51 (5th Cir. 1980) (holding part of an appeal moot

because of new regulations). Indeed, the Fifth Circuit has acknowledged “without doubt” “[t]hat

newly promulgated regulations immediately applicable to litigants in a given case can have the

effect of mooting what once was a viable case.” Sannon, 631 F.2d at 1250–51 (collecting cases).

Other circuits hold the same. See, e.g., Wyoming v. U.S. Dep’t of Interior, 587 F.3d 1245, 1253

(10th Cir. 2009) (Gorsuch, J.) (Because the “new Park Service rule also supersedes its 2007 rule,

it is now beyond cavil . . . that the petitioners’ underlying challenge to that rule is also moot.”);
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id. at 1253 (“[B]y eliminating the issues upon which this case is based, [the agency’s] adoption

of the new rule has rendered the appeal moot.” (quotation marks omitted)); National Mining

Ass’n v. U.S. Dep’t of Interior, 251 F.3d 1007, 1011 (D.C. Cir. 2001) (holding that challenge to

an “old set of rules” was moot in light of the “new system … now in place”); Alaska v. U.S.

EPA, 521 F.2d 842, 843 (9th Cir. 1975) (holding that challenge was “either . . . moot or not ripe”

because agency had “indefinitely suspended” the challenged regulation, and “should this

suspension be lifted, or new regulations be promulgated pertaining to the same subject matter in

general, another petition for review . . . may be filed”).

       That principle applies here. Plaintiffs’ amended complaint makes clear that they brought

this case as a challenge to HHS’s 2016 Rule. See, e.g., Am. Compl., Introduction and Nature of

the Action (“This lawsuit challenges a new Regulation . . . issued by the Department of Health

and Human Services [ ] that seeks to override the medical judgment of healthcare professionals

across the country.” (emphasis added)); id. ¶ 121 (“The Regulation is not in accordance with

Section 1557 of the Affordable Care Act (42 U.S.C. § 18116) or Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681 et seq.); id. ¶ 295 (“The Regulation violates the

Plaintiffs rights secured to them by the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb

et seq.”); id., Prayer for Relief (seeking declaratory relief with respect to “the challenged

Regulation” and a “permanent injunction enjoining Defendants from enforcing the challenged

Regulations” against Plaintiffs). But Plaintiffs can suffer no ongoing harm from the 2016 Rule,

because this Court vacated the provisions of it that Plaintiffs challenged. The 2016 Rule also has

been rescinded by HHS and superseded by a new Rule.

       Plaintiffs only response is to insist that this case was never just a challenge to the 2016

Rule, but rather sought to prevent HHS from ever interpreting Section 1557 in such a way that



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Plaintiffs would find objectionable. See Pls.’ Suppl. Br. on Remand at 24–25, ECF No. 200

(“Pls.’ Br.”). Yet, Plaintiffs did not seek relief from the statute itself, and they are not entitled to

it now, after entry of final judgment in their favor. Indeed, Plaintiffs’ motion for summary

judgment requested only that the Court “make its preliminary injunction permanent,” Private

Pls.’ Br. in Supp. of Their Renewed Mot. for Partial Summ. J. at 2, ECF No. 136, and this

Court’s preliminary injunction, accordingly, had barred HHS only “from enforcing the [2016]

Rule’s prohibition against discrimination on the basis of gender identity or termination of

pregnancy,” PI Order at 46. See also Plaintiffs’ Motion for Summary Judgment at 2, ECF No.

82 (seeking “[a] permanent injunction prohibiting Defendants from enforcing the [2016] Rule”).

This is consistent with the Court’s indication in denying Plaintiffs’ request for an injunction that

Plaintiffs may return to the Court for redress “should Defendants attempt to apply the vacated

Rule.” Summ. J. Order at 24–25 (emphasis added)); see also Order at 2, ECF No. 182 (vacating

“the portions of the [2016] Rule that Plaintiffs challenged,” “[s]pecifically,” the portions of the

rule defining “‘On the basis of sex’ to include gender identity and termination of pregnancy”).

Because the provisions that Plaintiffs challenged are no longer extant, their claims are moot.

        Plaintiffs ignore their own amended complaint and the substance of their motions,

pointing instead to subparagraphs in proposed injunctions they “submitted alongside both of their

summary-judgment motions” that asked the Court to enjoin HHS from “[c]onstruing Section

1557 to require [them] to provide medical services or insurance coverage related to ‘gender

identity’ or ‘termination of pregnancy’ in violation of their religious beliefs.” Pls.’ Br. at 24–25

(citing ECF 135-1 at 4 ¶(f); ECF 82-2 at 3 ¶(f)). The language in the proposed orders on which

Plaintiffs rely is too thin a reed to retroactively transform Plaintiffs’ case. Yet, in any event,

Plaintiffs cannot obtain an injunction based on some hypothetical future interpretation of Section



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1557, because any risk of harm is too speculative and unripe, as discussed below. See Part I.B.,

infra.

         Nor can Plaintiffs show that any of the limited exceptions to mootness could apply here.

Plaintiffs point to the “voluntary cessation” exception. See Pls.’ Br. at 23. Yet, courts should

“assume[s] that formally announced changes to official governmental policy are not mere

litigation posturing” that implicate the “voluntary cessation” doctrine. Sossamon v. Lone Star

State of Texas, 560 F.3d 316, 325 (5th Cir. 2009) (indicating that courts are justified in treating a

voluntary withdrawal of conduct with “some solicitude, mooting cases that might have been

allowed to proceed had the defendant not been a public entity”). Here, the Court vacated the

challenged provisions and issued a judgment on Plaintiffs’ RFRA claim that HHS has not

appealed. And HHS cannot undo its new 2020 Rule “without a new proceeding.” New Mexico

Health Connections v. U.S. Dep’t of Health & Human Servs., 946 F.3d 1138, 1161 (10th Cir.

2019) (explaining that voluntary cessation exception did not apply to the agency’s new formal

rulemaking). Thus, this is not a case where the defendant unilaterally ceased an action that it can

easily resume later, as was true in the cases Plaintiffs cite, where the voluntary cessation doctrine

would apply. See Pls.’ Br. at 23 (citing Opulent Life Church v. City of Holly Springs, Miss., 697

F.3d 279 (5th Cir. 2012); and Northeastern Fla. Chapter of Associated Gen. Contractors of Am.

v. City of Jacksonville, 508 U.S. 656 (1993)). Nor could Plaintiffs raise any plausible argument

that their claims here fall into the narrow exception for cases “capable of repetition, yet evading

review,” which exists only where the duration of the challenged action is too short to be fully

litigated prior to cessation or expiration. Spencer v. Kemna, 523 U.S. 1, 17 (1998) (quotation

marks omitted).




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       The Court should also reject Plaintiffs’ claim that an injunction is always the appropriate

remedy when a litigant prevails under RFRA. See Pls.’ Br. at 9–13. The plain language of

RFRA itself says that a person whose religious exercise has been burdened in violation of the

statute may obtain “appropriate relief,” which—contrary to Plaintiffs’ argument—leaves

discretion to courts to determine what relief is, in fact, “appropriate.” See, e.g., Tanzin v. Tanvir,

141 S. Ct. 486, 491 (2020) (examining RFRA and explaining that “appropriate relief” is “open-

ended on its face” and “inherently context dependent”); O.A. v. Trump, 404 F. Supp. 3d 109, 154

(D.D.C. 2019) (concluding in the immigration context that an injunction was not warranted after

vacatur of the challenged rule).

       It is also of no moment that courts entered injunctions in RFRA cases challenging the so-

called “contraceptive mandate,” as Plaintiffs point out. See Pls.’ Br. at 11–12. None of the cases

Plaintiffs cite addressed the question of whether injunctive relief would have been necessary

following vacatur of the challenged regulations. And, indeed, unlike here, the government

largely consented to injunctions in the cases on which Plaintiffs rely, undercutting Plaintiffs’

attempt to draw parallels between that litigation and this case. Moreover, although the district

court in Religious Sisters of Mercy v. Azar, Case No. 3:16-cv-00386, 2021 WL 191009 (D.N.D.

Jan. 1, 2019), did restrict how the agency may enforce Section 1557 as to the plaintiffs in that

case, the government has appealed that decision to the Eighth Circuit.

       B.      Plaintiffs’ Alleged Injury Is Not Imminent, But Rather Based on Unripe
               Claims of Speculative Future Harm.

       Plaintiffs also lack standing to obtain any additional relief because their alleged future

harms are speculative and unripe. “The ripeness doctrine is grounded in both the jurisdictional

limits of Article III of the Constitution and policy considerations of effective court

administration.” Pub. Water Supply Dist. No. 8 v. City of Kearney, 401 F.3d 930, 932 (8th Cir.


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2005). Article III limits the federal courts to deciding “Cases” and “Controversies” and thus

prohibits them from issuing advisory opinions. Id. “One kind of advisory opinion is an opinion

advising what the law would be upon a hypothetical state of facts.” Id. (internal quotations and

citations omitted). “A claim is not ripe for adjudication if it rests upon contingent future events

that may not occur as anticipated, or indeed may not occur at all.” Texas v. United States, 523

U.S. 296, 300 (1998) (internal quotations and citations omitted). Ripeness requires a court to

evaluate “both the fitness of the issues for judicial decision and the hardship to the parties of

withholding court consideration.” Id. at 300–01 (quoting Abbott Laboratories v. Gardner, 387

U.S. 136, 149 (1967)).

        Because the challenged portions of the 2016 Rule are no longer extant, Plaintiffs are

forced to speculate that HHS will bring an enforcement action against them at some unspecified

time in the future. Even if Plaintiffs had properly raised a challenge to Section 1557 itself,

Plaintiffs do not have standing to obtain an injunction that bars hypothetical future agency

actions, which naturally do not present a “concrete, particularized, and actual or imminent” harm

that is “certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

(quotation marks omitted); cf. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)

(plaintiffs have standing to raise a “pre-enforcement” First Amendment claim only “under

circumstances that render the threatened enforcement sufficiently imminent”). And even if

Plaintiffs could cross the standing threshold, it is black letter law that “[a]n injunction is

appropriate only if the anticipated injury is imminent.” Chacon v. Granata, 515 F.2d 922, 925

(5th Cir. 1975); see City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983) (“[P]ast exposure to

illegal conduct does not in itself show a present case or controversy regarding injunctive relief




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. . . if unaccompanied by any continuing, present adverse effects.” (quoting O’Shea v. Littleton,

414 U.S. 488, 495–96 (1974))).

       No concrete, imminent injury exists here. Because the provisions that Plaintiffs

challenged were vacated by this Court and rescinded by HHS, Plaintiffs instead request an

injunction against “a fuzzily defined range of enforcement actions that do not appear imminent,”

which the Fifth Circuit has held is improper. See Google, Inc. v. Hood, 822 F.3d 212, 226–28

(5th Cir. 2016) (reversing district court’s grant of preliminary injunction because “the prospect

of” an enforcement action that would harm plaintiffs was “not sufficiently imminent or defined

to justify an injunction”); Chacon, 515 F.2d at 925 (“Insofar as” plaintiffs’ request for an

injunction “is premised on” legislative action that has not occurred yet, plaintiffs “face[] an

impossible burden of showing that any harm to them is imminent,” because “[t]he contours of

the [actions] anticipated by plaintiffs cannot be predicted,” “[n]or can it be foreseen how

[relevant] laws will be interpreted judicially or applied administratively.”). Even though HHS

has now taken the position that sex discrimination includes gender-identity discrimination under

Section 1557, consistent with the Supreme Court’s interpretation of Title VII in Bostock, the

agency has not taken a position on what that means in the context of gender-transition services

for religious entities, much less initiated any enforcement activity against a religious-entity

plaintiff in which the protections of RFRA or other religious exemptions could be asserted and

evaluated.

       Plaintiffs suggest, see Pls.’ Br. at 17–18, that they might be harmed as a result of the

2020 Rule, in light of Supreme Court’s decision in Bostock, which held that Title VII’s

prohibition against sex discrimination necessarily prohibits discrimination on the basis of sexual

orientation or transgender status. Bostock, 140 S. Ct. at 1739. For one, this alleged injury is



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untethered to Plaintiffs’ amended complaint, which challenges only the 2016 Rule. Yet, even

putting that aside, and, as Plaintiffs emphasize, see Pls.’ Br. at 5–6, the Supreme Court itself

stated that its decision did not address how “doctrines protecting religious liberty,” including

RFRA, would apply to Title VII’s prohibition of discrimination based on homosexuality or

transgender status, 140 S. Ct. at 1754. And, indeed, when announcing that HHS will interpret

Section 1557’s prohibition on discrimination on the basis of sex to include discrimination on the

basis of sexual orientation and gender identity, consistent with Bostock and Title IX, the agency

underscored that it will comply with RFRA in enforcing Section 1557.

       It is purely speculative—and insufficient to confer jurisdiction, much less for equitable

relief—for Plaintiffs to simply posit that the agency will enforce Section 1557 against religious-

entity plaintiffs in a way that burdens their religious beliefs based on Bostock. The Supreme

Court has long made clear that judicial review is inappropriate before “an administrative decision

has been formalized and its effects felt in a concrete way by the challenging parties.” Pacific

Gas & Elec. Co. v. Energy Res. Comm’n, 461 U.S. 190, 200 (1983). And such relief is

especially premature here: for Plaintiffs to suffer harm, HHS would have to exercise its

discretion to bring an enforcement action against them even though the 2020 Rule has

incorporated Title IX’s religious exemption and even though HHS has committed to enforce

Section 1557 consistent with RFRA.

       Regarding the 2020 Rule’s incorporation of Title IX’s religious exemption, Plaintiffs

argue that one district court has issued a preliminary injunction barring its enforcement based on

a purported procedural error. Pls.’ Br. at 18. But that preliminary injunction does not

demonstrate a risk of concrete harm, as Plaintiffs still have the protections of RFRA. Moreover,

in the 2020 Rule’s preamble, HHS stated its view that the provision adopting Title IX’s religious



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exemption would “not . . . create any new conscience or religious freedom exemptions beyond

what Congress has already enacted.” 85 Fed. Reg. at 37,206. Given HHS’s enforcement

discretion and existing statutory protections for religious conscience, Plaintiffs’ theory of

possible future injury is all the more speculative. See Chacon, 515 F.2d at 925 (rejecting request

for injunctive relief because “the injury plaintiffs fear[ed] about future zoning ordinances is not

imminent” and “[a]ny injury plaintiffs might suffer from abuse of the City’s eminent domain

power can be remedied when the City formally exercises that power”).

       Plaintiffs also argue that two district courts have “reviv[ed]” the provision of the 2016

Rule prohibiting discrimination on the basis of gender identity, which this court vacated. Pls.’ Br.

at 18–19. Plaintiffs are incorrect. Both district courts that issued preliminary injunctions against

the 2020 Rule explicitly recognized that they had “no power to revive [provisions] vacated by

another district court.” Walker, 480 F. Supp. 3d at 427; Whitman-Walker Clinic, 485 F. Supp. 3d

at 26 (explaining that the court was “powerless to revive” provisions that this Court had vacated).

Accordingly, the preliminary injunctions against the 2020 Rule did not affect this Court’s vacatur

of the 2016 Rule “insofar as [it] define[d] ‘on the basis of sex’ to include gender identity.” Order

at 2, ECF No. 182 (quotation marks omitted). Moreover, although the preliminary injunctions

against the 2020 Rule revived the 2016 Rule’s prohibition of discrimination on the basis of sex

stereotyping, Plaintiffs did not challenge the sex-stereotyping provision in their amended

complaint and thus cannot seek relief against that provision at this late stage. See generally Am.

Compl.; see also Order at 2, ECF No. 182 (vacating “the portions of the [2016] Rule that

Plaintiffs challenged,” “[s]pecifically,” the portions of the rule defining “‘On the basis of sex’ to

include gender identity and termination of pregnancy”). In addition, plaintiffs have not




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demonstrated that HHS has brought or threatened any enforcement activity against a religious

entity based on the sex stereotyping provision.

       Nor can Plaintiffs make out any credible claim that they require an injunction to avoid

being forced to either provide or insure for abortion services. This Court vacated the former

definition of “on the basis of sex” insofar as it includes “termination of pregnancy.” Order at 2,

ECF No. 182. That definition has also been repealed formally repealed, see 86 Fed. Reg. at

37,244, and no court has enjoined that change in the 2020 Rule. Moreover, HHS made clear in

its recent notice regarding Section 1557 that OCR would comply with all legal requirements

when enforcing the statute, see 85 Fed. Reg. at 27,985, which necessarily includes conscience

protections that proscribe HHS from requiring the performance or coverage of abortion services

as a condition for receiving federal funds, id.

       Similarly insufficient to obtain injunctive relief is Plaintiffs’ assertion that they are

currently suffering irreparable harm because, according to Plaintiffs, “they must choose between

their religious beliefs and millions of dollars of federal funding critical for them to serve the

needy.” Pls.’ Br. at 20–21. HHS has not taken a position on whether religious healthcare

providers are required to provide gender-transition procedures, and plaintiffs’ subjective fears are

“not a sufficient basis for an injunction absent a real and immediate threat of future injury.”

Lyons, 461 U.S. at 107 n.8. Moreover, under HHS’s enforcement framework, Plaintiffs are

“several steps removed from any termination of their federal funding.” Colwell v. Dep’t of

Health & Hum. Servs., 558 F.3d 1112, 1128 (9th Cir. 2009) (holding that case was not ripe

where HHS had not threatened enforcement action against plaintiffs). Before Plaintiffs’ funding

could be terminated, “there must be an effort to achieve informal or voluntary compliance, and

administrative hearing, and notice to congressional committees,” and “[j]udicial review of any



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funding termination is available in an Article III court.” Id.; see also id. at 1119; 45 C.F.R.

§ 92.5; 45 C.F.R. § 80.7; 45 C.F.R. § 80.8. Plaintiffs’ hypothetical future harm is not certainly

impending and therefore insufficient for further relief. Clapper, 568 U.S. at 416, 418.

                                          *       *       *

       For all these reasons, this Court was correct to deny Plaintiffs’ request for injunctive

relief in the first place. Defendants will, of course, continue to abide by this Court’s prior orders,

and Plaintiffs may return to court by filing another suit if they have reason to challenge any

future concrete, final agency action based in Section 1557. But the Court should decline

Plaintiffs’ request for an injunction limiting HHS’s interpretation of Section 1557, which would

have no meaningful practical effect independent of the Court’s vacatur, except to improperly

bind HHS’s hands in the future, based on speculation about how the agency may (or may not)

enforce the statute going forward.3

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ request for an injunction.

 Dated: June 4, 2021                                  Respectfully Submitted,

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                                                      MICHELLE BENNETT
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                                                      Branch

                                                      /s/ Bradley P. Humphreys
                                                      BRADLEY P. HUMPHREYS

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          An injunction is not warranted for the reasons discussed herein. If the Court does enter
an injunction, however, Defendants respectfully ask that the Court require Plaintiffs to provide a
means for HHS to identify the entities that are covered by such an injunction, or to otherwise
provide a mechanism for HHS to avoid the possibility of unknowingly violating any injunction.
Plaintiff Christian Medical & Dental Society seeks relief on behalf of itself and its members,
who number nearly 20,000, according to Plaintiffs. Plaintiffs have not provided Defendants or
the Court with a list of that association’s members.
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